Case 9:16-cv-80988-KAM Document 153 Entered on FLSD Docket 07/13/2016 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  Case Number: 16-80988-CV-MARRA


      JASON ZAJONC, et al., individually and on
      behalf of all others similarly situated,, et al.,
      individually and on behalf of all others similarly
      situated,

                                      Plaintiffs,
                v.

      MORGAN STANLEY & CO. LLC,
      f/k/a Morgan Stanley & Co. Incorporated,
      MORGAN STANLEY SMITH BARNEY LLC,
      and MORGAN STANLEY,

                                      Defendants.



                                  AGREED ORDER AND JUDGMENT

           THIS CAUSE is before the Court upon the Joint Motion for Approval of Global

  Settlement.        The Court, having considered the parties’ Joint Stipulation of Settlement and

  Release (“Agreement”) and all other materials properly before the Court, and having conducted

  an inquiry pursuant to Section 216(b) of the Fair Labor Standards Act of 1938, hereby finds and

  orders as follows:

           1.        The Joint Motion for Approval of Global Settlement is GRANTED [D.E. 149].

           2.        Unless otherwise defined herein, all terms used in this Agreed Order and

  Judgment (the “Agreed Order and Judgment”) will have the same meaning as defined in the

  Agreement.




 DB1/ 88269124.2
Case 9:16-cv-80988-KAM Document 153 Entered on FLSD Docket 07/13/2016 Page 2 of 3




            3.      The Court has jurisdiction over the subject matter of these actions, which include

   the cases and claims previously transferred to this Court for purposes of settlement, in addition to

   the Named Plaintiffs, the Settlement Group Members, and Defendants.

            4.      The Court finds that the Parties’ settlement is the product of protracted, arms-

   length negotiations between experienced counsel about bona fide disputes regarding liability and

   damages. The Court grants final approval of the settlement, including the allocation of the Net

   Settlement Amount, the Released Claims, and the other terms described in the Agreement, as

   fair, reasonable and adequate as to the Parties, Enhancement Award Plaintiffs, and Settlement

   Group Members.

            5.      The Court approves the Plaintiffs’ attorneys’ application for fees from the

   Settlement Fund in the total amount of $3,707,970.34 (to be distributed pursuant to the Parties’

   Agreement) for all four settled cases, total costs in the amount of $461,029.66 (to be distributed

   pursuant to the Parties’ Agreement) for all four settled cases, and the proposed Settlement Cover

   Letters, Notice, and agreement and release for Enhancement Award Plaintiffs attached as

   Exhibits D, E, F, and G to the Agreement and the proposed method for distribution.

            6.      The Court approves payment of $26,000.00 to the Settlement Claims

   Administrator.

            7.      The Court approves payment of a total of $98,000.00 in Enhancement Awards to

   the eleven Named Plaintiffs and additional thirty-five Enhancement Award Plaintiffs as more

   fully set forth in the Agreement;

            8.      The Court approves allocation of $5,000.00 of the Maximum Settlement Amount

   to settle the PAGA claims against Defendants as more fully set forth in the Agreement.

            9.      The Court approves allocation of $50,000.00 to a reserve fund.



  DB1/ 88269124.2                                   2
Case 9:16-cv-80988-KAM Document 153 Entered on FLSD Docket 07/13/2016 Page 3 of 3




            10.     The Court permanently enjoins the Named Plaintiffs, Enhancement Award

   Plaintiffs, and other Participating Members (those who negotiate their checks) from filing,

   commencing, prosecuting, or pursuing the claims released by the Agreement whether or not on a

   class or collective action basis, or participating in any class or collective action involving such

   claims, except as otherwise expressly set forth in the Agreement.

            11.     Nothing relating to this Agreed Order, or any communications, papers, or orders

   related to the Agreement, shall be cited to as, construed to be, admissible as, or deemed an

   admission by Defendants or Releasees of any liability, culpability, negligence, or wrongdoing

   toward the Plaintiffs, the Settlement Group Members, or any other person, or that class or

   collective action certification is appropriate in this or any other matter. There has been no

   determination by any Court as to the merits of the claims asserted by Plaintiffs against

   Defendants or as to whether a class or collective should be certified. Furthermore, nothing in this

   Agreement shall be considered any form of waiver of any alternative dispute resolution

   agreements, provisions, or policies by Defendants or Releasees.

            12.     The Court dismisses this action with prejudice, and will dismiss the Devries,

   Johnson and Hix lawsuits with prejudice, with the Court retaining jurisdiction to enforce the

   settlement, if necessary. This case is CLOSED.

            DONE AND ORDERED in chambers in West Palm Beach, Palm Beach County, Florida,

   this 11th day of July, 2016.




                                                               KENNETH A. MARRA
                                                               United States District Judge




  DB1/ 88269124.2                                   3
